Case: 5:22-cv-01454-CEH Doc #: 1-16 Filed: 08/15/22 1 of 2. PagelD #: 55

EXHIBIT M
Case: 5:22-cv-01454-CEH Doc #: 1-16 Filed: 08/15/22 2 of 2. PagelD #: 56 2

HA52024 Gmail - BCU 1525 Refund Request

@ Gmail Karl Forsell <Horcc@gmall.com>

BCU 1525 Refund Request

15 messages

Karl-Leng Forsell <frsi@fml.net> 414 August 2018 af 11:27
To: FPGA Land <sales@fpga.land>

Dear Tom,

lope this email finds you well.

In ght of the BCU 1525 delivery delay, and encouraged by your response to this, as announced and reported In the fpga
discord, lam requesting a refund for 180 of tha 192 BCU1525 (No RAM} boards | have on order with FPGA Land via ihe
tully paid and confirmed orders 1605, 1462, 1406, 1405, 1396, 1247, 1174, 1121, 11419, 1099, 1098, 1097, 1094, 1087,
16684, 1080, 1076 and 1642.

Please could you provide me with the soonest time-frame as to when | could expect {o recelve the refund money In my
account(s}.

Best,

Car

FPGA Land <sales@fpgaland> 14 Augusi 2018 at 17:27
Reply-To: FPGA Land <sales@fpga land>
To: Kad-Leng Forseil <frsi@fimi,net>

pant types yeeat raply ahayve this tee a
Your request (677} has been received and is being reviewed by oug supposl staff,

To add ariditional comments, reply to thls emai,
Karl-Leng Forsell
Aug 14, 0007 Ppa

fOuoted text hidden]

This enedi boa service ieont FPGA Eand, Dehverced) hy Zendesk

Thomas Senset (FPGA Land) <sales@fogaland> 17 August 2018 at 22:04
Reply-To: FPGA Land <sales@Ipga.land>
To: Karl-Leng Forsell <frsk@fminet>

2 Please: bypes Your booby Aleve: tis die i

Your request (577) has been updated, To add additional comments, reply to thls email,

Thomas Sensel (FPGA Land)

Aug 17, HOGA PET
Karl,

That's not a problem. I'll need a crypto address to refund your crypto and bankwire
orders to,

i'm placing your ticket on hold pending refund.

hips: mail.google.conmailéa O7k=B20865fd IBAaview=pl&scarch=all&permthid=thrand-v 83 Ac 19 S82 57 OTRO GIG66R sip =r sa-A EIA TORE SOS IL FIORIR, LR
